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12
                              IN THE UNITED STATES DISTRICT COURT
13                                FOR THE DISTRICT OF ARIZONA
14
     United States of America,                       NO. CR-18-00422-PHX-SPL (BSB)
15

16                       Plaintiff,                  DEFENDANT LACEY’S
     vs.                                             REPLY IN FURTHER SUPPORT OF
17                                                   MOTION FOR RELEASE OF FUNDS
     Michael Lacey, et al.,                          UNRELATED TO BACKPAGE AND
18
                                                     REQUEST FOR EXPEDITED RELIEF
19                     Defendants.
                                                     (Oral argument requested)
20

21

22          Defendant Michael Lacey, by and through his undersigned attorney, hereby submits the

23   instant reply in further support of his Motion for Release of Funds Unrelated to Backpage and

24   Request for Expedited Relief (“Motion”), which was filed on November 16, 2018 (Doc. 385).

25   The government filed an untimely opposition to the Motion (“Opposition”) (Doc. 412); which

26   Mr. Lacey moved to strike on the basis that it was not timely submitted and the government

27   offered no explanation for its failure to timely submit the Opposition or request an extension.

28
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 1   415.) To the extent this Court considers the untimely Opposition, this Court should, nonetheless,
 2   grant the Motion. The government has seized assets that are not traceable to Backpage, has
 3   refused to consider the evidence Mr. Lacey submitted which demonstrates that assets unrelated
 4   to Backpage were accidentally mixed with Backpage-derived funds by an administrative
 5   assistant without Mr. Lacey’s knowledge. Indeed, Mr. Lacey can demonstrate that the funds
 6   were segregated and only an act of a third party resulted in any Backpage-related funds being
 7   deposited into his Republic Bank account ending in 2485. At this time, Mr. Lacey has no other
 8   avenue for relief than this Court’s equitable separation of the assets unrelated to Backpage.
 9                                          BACKGROUND
10          Recently, this Court entertained various challenges to seizure warrants directed at
11   attorney IOLTA accounts. (See Emergency Motion to Stay Seizure of Attorneys’ Fees and
12   Immediate Hearing (“First Motion to Stay”), Doc. 360; Emergency Motion to Stay Seizure
13   (“Second Motion to Stay”), Doc. 365; Joinder in First Motion to Stay (“Joinder”), Doc. 366;
14   Emergency Motion to Stay (“Third Motion to Stay”), Doc. 376.) In addition to these motions,
15   Mr. Larkin filed a Supplemental Brief in Support of Defendants’ Emergency Motion to Stay
16   (“Supplemental Motion to Stay”). (Doc. 377.) In the Supplemental Motion to Stay, Mr. Larkin
17   asserted that, in a recent communication with the government, the government claimed that two
18   bank accounts that Mr. Larkin had understood to contain funds unrelated to Backpage had been
19   traced to Backpage, and that use of those funds would constitute criminal conduct. (See id.) Mr.
20   Larkin indicated that the government was unwilling to reveal its basis for claiming that the funds
21   were traceable to Backpage and requested an immediate evidentiary hearing. (See id.)
22          Then, on November 16, 2018, Mr. Lacey filed his Motion for Release of Funds Unrelated
23   to Backpage and Request for Expedited Relief (“Motion”). (Doc. 385.) In the Motion, Mr.
24   Lacey requested that this Court issue an order directing the government to release funds held in
25   three bank accounts (Republic Bank accounts ending in 2485, 1897, and 3126) because the
26   government seized those funds on the basis that Mr. Lacey had comingled funds related to
27   Backpage with funds unrelated to Backpage thereby rendering all of the funds held in those
28                                                   2
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 1   accounts subject to pretrial restraint under the government’s theory of the case against Backpage.
 2   (See id.) Mr. Lacey demonstrated to this Court, as he had to the government many months earlier
 3   through email communications and at a meeting, that he had no knowledge of or involvement
 4   with the single, accidental deposit of funds related to Backpage into those three accounts, which
 5   did not otherwise contain funds related to Backpage. Instead, an administrative assistant made
 6   the erroneous transfer, immediately rectified it (nearly a year before inception of this case), and
 7   offered to speak with the government about the error. Mr. Lacey turned over this evidence to
 8   the government in a good faith effort to resolve this issue without judicial intervention, but the
 9   government refused to acknowledge its error or investigate. For these reasons, Mr. Lacey came
10   to this Court to seek the equitable release of the funds that were unrelated to Backpage for use
11   for his defense and for protection of his constitutional rights.
12          On November 16, 2018, this Court held a hearing on the motions that had been briefed
13   by the time of the hearing which included the First, Second, and Third Motions to Stay, the
14   Supplemental Motion to Stay, and related submissions. (See 11/16/18 Transcript, a true and
15   correct copy of which is attached hereto as Ex. A (referring to Docs. 360, 363, 365, 366, 370,
16   371, 376, 377, 379, 382).) During the hearing, there was no discussion or mention of Mr.
17   Lacey’s Motion (Doc. 385). (See id.) At the conclusion of the hearing, this Court announced
18   an oral decision and order on the argued motions (“Order”). (See id. at 55-60.) The Order
19   indicated that it resolved the First, Second, and Third Motions for Stay (Doc. 360, 365, 376) and
20   the Supplemental Motion for Stay (Doc. 377) and Court ruled that those motions were denied
21   because there were no “persuasive reasons as to why the Court should interfere with the Central
22   District of California’s issuance of the seizure warrants.” (Id. at 57 (emphasis added).).
23          The Order did not mention or rule on Mr. Lacey’s Motion. (See id. (no discussion of
24   Doc. 385.) The Motion is pending before this Court with an untimely Opposition (Doc. 412).1
25

26
     1
           Because Mr. Lacey’s Motion remained active after issuance of the Order, the
     government’s opposition was due on November 30, 2018. However, that date passed and the
27   government did not file an opposition or a request an extension of its deadline. On December 3,
28                                                    3
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 1                                            ARGUMENT
 2
     I.     This Court should strike the Government’s Opposition as untimely and grant the
 3          Motion as unopposed.
 4          This reply hereby incorporates by reference the grounds for striking the Opposition as
 5   untimely and granting the Motion as unopposed as detailed in Mr. Lacey’s Motion to Strike
 6   (Doc. 415). Mr. Lacey renews his request that this Court strike the Opposition as untimely and
 7   grant the Motion as unopposed.
 8
     II.    This Court should grant the Motion because resolution of this Motion is not
 9
            precluded by the Order.
10          This Court should grant the Motion. The government contends that this Court should
11   not entertain the merits of the Motion because it is akin to the Supplemental Motion which was
12   denied in the Order and the Motion should be denied for the same reasons under the doctrine of
13   the law of the case. The government is wrong. The law-of-the-case doctrine, which is a
14   discretionary practice, is no barrier to consideration of this distinct Motion on its merits because
15   the Order did not address the issues raised in the Motion.
16          The Supreme Court has explained that the “law-of-the-case doctrine generally provides
17   that when a court decides upon a rule of law, that decision should continue to govern the same
18   issues in subsequent stages in the same case.” Musacchio v. United States, 577 U.S. ___, 136 S.
19   Ct. 709, 716 (2016) (quotations omitted). However, the law-of-the-case doctrine “acts as a bar
20   only when the issue in question was actually considered and decided by the first court.” United
21   States v. Cote, 51 F.3d 178, 181 (9th Cir. 1995). Further, the doctrine “clearly does not extend
22

23
     2018, Mr. Lacey filed a Notice of the Government’s Non-Opposition to his Motion. (Doc. 403.)
24   More than one week later, on December 11, 2018, the government filed its Response in
     Opposition to the Motion (“Opposition”). (Doc. 412.) The Opposition does not provide any
25   excuse for why the government was unable to file an opposition or a request for an extension by
26   November 30, 2018. (See id.) On December 12, 2018, Mr. Lacey moved to strike the
     government’s Opposition as untimely and to grant the Motion as unopposed (Doc. 415), which
27   the government opposed (Doc. 423).
28                                                    4
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 1   to issues . . . [a] court did not address.” Id. at 181 (quoting Luckey v. Miller, 929 F.2d 618, 621
 2   (11th Cir. 1991)). For these reasons, the Ninth Circuit has recognized several exceptions to the
 3   doctrine: “(1) the first decision was clearly erroneous; (2) an intervening change in the law
 4   has occurred; (3) the evidence on remand is substantially different; (4) other changed
 5   circumstances exist; (5) a manifest injustice would otherwise result.” Thomas v. Bible, 983
 6   F.2d 152, 155 (9th Cir. 1993).
 7          Separate from articulation of the contours of the doctrine and its exceptions, the Supreme
 8   Court has made it clear that the doctrine is not a jurisdictional barrier. See Christianson v. Colt
 9   Indus. Oper. Corp., 486 U.S. 800, 817 (1988) (recognizing that the doctrine “merely expresses
10   the practice of courts generally to refuse to reopen what has been decided, not a limit to their
11   power”); Musacchio, 136 S. Ct. at 716 (describing the doctrine as a “practice” that “does not
12   limit courts’ power” (quotations omitted)); see also Milgard Tempering, Inc. v. Selas Corp. of
13   Am., 902 F.2d 703, 715 (9th Cir. 1990) (“Application of the doctrine is discretionary.”). Indeed,
14   the Court has explained that, as a matter of jurisdiction, “[a] court has the power to revisit prior
15   decisions of its own . . . in any circumstance,” even though a court should not do so absent
16   “extraordinary circumstances.” Christianson, 486 U.S. at 817 (emphasis added).
17          In this case, the doctrine is no barrier to this Court’s resolution of this Motion. First, this
18   Motion involves consideration of substantially different facts and relief sought. For example,
19   these substantial factual differences preclude application of the doctrine to the Motion: (1) Mr.
20   Lacey’s Motion asserts that the government seized funds through execution of a specific search
21   warrant (Doc. 385 at 8), whereas the Supplemental Motion asserts that the government
22   threatened new criminal charges for use or access of funds but is unclear as to whether a seizure
23   warrant was at issue (Doc. 377 at 1); (2) Mr. Lacey’s Motion indicates that he made an
24   evidentiary presentation to the government to demonstrate that the funds were unrelated to
25   Backpage (Doc. 385 at 10-11), whereas the Supplemental Motion does not indicate that such a
26   presentation was made to the government (Doc. 377 at 2); (3) Mr. Lacey’s Motion demonstrated
27   that he had no knowledge or involvement with the single, accidental deposit of funds that
28                                                    5
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 1   purportedly tainted his accounts which undermined the government’s basis for restraint (Doc.
 2   385 at 10-11), whereas the Supplemental Motion indicates that, at the time of filing, counsel was
 3   not yet aware of the government’s basis for restraint because the government had not revealed it
 4   (Doc. 377 at 2); and (4) Mr. Lacey’s Motion indicates that the government refused to review or
 5   investigate Mr. Lacey’s evidence (Doc. 385 at 11), whereas the Supplemental Motion does not
 6   indicate that the government refused to consider evidence (Doc. 377 at 2).
 7           More importantly, the Motion and Supplemental Motion seek entirely different relief
 8   from this Court. In the Motion, Mr. Lacey sought the equitable separation of assets accidentally
 9   combined to use those assets to fund his defense. (Doc. 385 at 16.) In contrast, the Supplemental
10   Motion sought an expedited briefing schedule and an evidentiary hearing on the propriety of the
11   government’s threat to bring new criminal charges. (Doc. 377 at 2.)
12          These distinctions make a difference. The Motion does not ask this Court to interfere
13   with another court’s authorization of enforcement of a seizure warrant like the Stay Motions
14   (Docs. 360, 365, 366, 376). This Motion does not ask this Court to hold a hearing on the threat
15   of new criminal charges in connection with a defendant’s use of funds like the Supplemental
16   Motion (Doc. 377). The seizure warrant at issue in this case was executed months ago and this
17   Motion does not challenge the government’s application for that seizure warrant or the
18   authorization of it by the Central District of California. For that reason, this Motion is not a
19   collateral attack on an order of another court of coordinate jurisdiction as contemplated by the
20   Ninth Circuit in Delson Gr., Inc. v. GSM Ass’n, 570 F. App’x 690 (9th Cir. 2014); Ord v. United
21   States, 8 F. App’x 852 (9th Cir. 2001); and Treadway v. Academy of Motion Pictures Arts &
22   Sciences, 783 F.2d 1418 (1986) and cited in the Order. (See Ex. C at 55.) Instead, this Motion
23   challenges the continued retention of the funds held in three bank accounts in light of the fact
24   that Mr. Lacey had no knowledge or involvement with the accidental transfer of Backpage-
25   related funds by an administrative assistant into the Republic Bank account ending in 2485 and
26   asks this Court to craft an equitable remedy to a problem that the government created by refusing
27   to separate non-Backpage funds combined solely as the result of a clerical error.
28                                                  6
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 1          In light of these substantially different facts and relief sought, this Court should decline
 2   to deny the Motion under application of the doctrine of the rule of the case and resolve this
 3   distinct Motion on its merits. See Cote, 51 F.3d at 181 (declining application of the “law of the
 4   case doctrine” because the prior decision “does not indicate the court considered and decided the
 5   issue presented” that was now before the court). Declining to apply the doctrine to foreclose
 6   consideration of the Motion is the correct result even though both the Motion and the
 7   Supplemental Motion address, in a general sense, the government’s seizure of assets, because
 8   once that very general similarity is set aside, the Motion and Supplemental Motion raise distinct
 9   issues by different parties who seek different relief. The Ninth Circuit’s opinion in Milgard
10   Tempering, Inc. is instructive. In that case, the district court interpreted a contract provision as
11   allowing a furnace manufacturer to obtain attorneys’ fees if the manufacturer prevailed on a
12   specific contractual defense. See Milgard Tempering, Inc., 902 F.2d at 706, 715-16. On remand,
13   the manufacturer lost on the merits of the dispute, and the furnace purchaser sought attorneys’
14   fees under the same provision of the contract, asserting that the doctrine of the law of the case
15   foreclosed denial of attorneys’ fees. See id. at 715-16. The Ninth Circuit explained that the
16   district court’s prior interpretation of that provision as applying to the manufacturer on a specific
17   defense was a separate issue from whether any party under the contract could seek attorneys’
18   fees for prevailing on any dispute under the contract. See id. For that reason, the doctrine of the
19   law of the case was inapplicable. See id.
20          Second, a denial of the Motion under the doctrine of the law of the case would result in
21   manifest injustice. In the Order, this Court explained that the other motions were denied because
22   this Court did not want to undertake any actions that could be said to “interfere” with the orders
23   of a court of coordinate jurisdiction. (Ex. C at 55.) Notably, the government advocated for this
24   result at the November 16, 2018 hearing, indicating that defendants could litigate their challenges
25   to seizure warrants in the Central District of California. In particular, the government informed
26   this Court that any challenge to the pretrial restraint of defendants’ assets other than a Monsanto
27   hearing, including a challenge brought under Franks v. Delaware, 438 U.S. 154 (1978), should
28                                                    7
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 1   be brought in the Central District of California.2 (See Ex. C at 7.) To the extent that the
 2   government’s statement about the availability of other venues for litigation of the pretrial
 3   restraint of defendants’ assets impacted the Court’s analysis in the Order, the government’s
 4   conduct since the hearing demonstrates that this Court should entertain this Motion on its merits
 5   because the government will seek to avoid judicial review of its actions outside this District.
 6          Critically, days after the government’s averments at the November 16, 2018 hearing,
 7   defendants pursued their challenge to the seizure warrants that the government obtained to seize
 8   the attorney IOLTA accounts at issue in this Court’s Order in the Central District of California
 9   by filing an Application and Motion to (1) Stay Execution of Seizure Warrants; and (2) Provide
10   Notice to the Court of First Amendment and Franks Violations under the eight sealed dockets
11   (18-MJ-02872, 18-MJ-02873, 18-MJ-02874, 18-MJ-02875, 18-MJ-02876, 18-MJ-02878, 18-
12   MJ-02880, and 18-MJ-02883). Defendants did exactly what the government told this Court they
13   should do. Unsurprisingly, the government’s opposition to the Application and Motion sought
14   to evade judicial review of the seizure warrants by asking the court to deny the motion as moot
15   because the seizure warrants had expired by the time the Application and Motion was filed (even
16   though the government was silent as to whether it would seek or had sought new seizure warrants
17   not yet disclosed to the parties or the courts). Given this history, the only available venue for
18   this Motion is this Court. While the parties continue to litigate the Application and Motion in
19

20   2
             Defendants found this statement to be surprising in light of the history of the parties’
21   litigation of the government’s pretrial restraint of defendants’ assets in the Central District
     of California. On August 1, 2018, Defendants filed a Motion to Vacate or Modify Seizure
22   Warrants, which challenged the seizure warrants on a variety of grounds, including
     violations of Franks under the docket 18-CV-06742. The government responded by telling
23
     the Central District of California that the defendants’ challenges should not be heard in that
24   District, but instead should be heard in the District of Arizona. Shortly thereafter, the
     government sought an ex parte stay of all litigation in the Central District of California,
25   which was granted and which is on appeal to the Ninth Circuit. There is nothing about the
26   way the government litigated the pretrial restraint of defendants’ assets that suggests that
     the government is receptive to judicial review of the merits of its actions in the Central
27   District of California or anywhere.
28                                                   8
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 1   the Central District of California, the government’s handling of that litigation demonstrates that
 2   this Motion should not face the same fate as the motions resolved in the Order because the
 3   government will make sure that there will be no opportunity to litigate this Motion in the Central
 4   District of California.
 5
     III.   This Court should grant the equitable relief sought in the Motion—the separation
 6          of assets unrelated to Backpage—because there is no other avenue for Mr. Lacey
            to regain access to his innocent funds.
 7
            This Court should grant the Motion. The government contends that the Motion should
 8
     be denied because it is a motion for release under Rule 41(g) of the Federal Rules of Criminal
 9
     Procedure (“Rule 41(g)”) and such motions must be denied when there is a remedy at law which
10
     the government claims exists for this dispute. (See Opp’n at 5-6.) The government’s
11
     misclassification of this Motion does not support denial of the Motion and this Court has the
12
     inherent and equitable jurisdiction to entertain it and to grant the relief sought.
13
            Mr. Lacey did not invoke Rule 41(g) because this Motion is not for the return of specific
14
     property under Rule 41(g). Quite differently, this Motion seeks the equitable separation of funds
15
     unrelated to Backpage from funds related to Backpage as a matter of this Court’s inherent and
16
     equitable jurisdiction. There is no remedy at law because in this Motion Mr. Lacey is not
17
     challenging the method by which the government seized his bank accounts (such as the veracity
18
     of the seizure warrant and warrant application). Instead, he is challenging the government’s
19
     continued retention of such funds and the government’s refusal to acknowledge and release
20
     funds that were accidentally combined through no act of Mr. Lacey. Similarly, the Motion does
21
     not seek relief under United States v. Monsanto, 491 U.S. 600 (1989). Although Mr. Lacey may,
22
     in the future pursue a Monsanto-related motion, he has not sought such relief in this Motion and
23
     this Court should reject the government’s attempt to shoehorn this Motion into that format.
24
            Instead, this Court has the inherent and equitable jurisdiction to fashion a remedy to
25
     resolve this Motion. See Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1, 15 (1971)
26
     (“Once a right and a violation have been shown, the scope of a district court’s equitable
27

28                                                     9
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 1   powers to remedy past wrongs is broad, for breadth and flexibility are inherent in equitable
 2   remedies.”); Porter v. Warner Holding Co., 328 U.S. 395, 398 (1946) (recognizing that, in the
 3   absence of specific statutory authority, courts still have equitable “power” which is “resident in
 4   the District Court”); United States v. Coca-Cola Bottling Co., 575 F.2d 222, 228 (9th Cir. 1978)
 5   (“The equity jurisdiction of the federal courts traditionally has permitted the fashioning of broad
 6   and flexible decrees molded to the necessities of the individual case.”); see also United States v.
 7   Barrera-Moreno, 951 F.2d 1089, 1091 (9th Cir. 1991) (recognizing that courts have inherent
 8   “supervisory powers” to “remedy a constitutional or statutory violation; to protect judicial
 9   integrity by ensuring that a conviction rests on appropriate considerations validly before a
10   jury; or to deter future illegal conduct”).
11          It is equally important to this Court’s resolution of the Motion that the government did
12   not dispute a single fact set forth in the Motion. Consequently, this Court should consider the
13   following undisputed facts in reaching an equitable resolution of the Motion: (1) the Republic
14   Bank account ending in 2485 held funds unrelated to Backpage; (2) an administrative assistant
15   accidentally transferred funds related to Backpage into that account without authorization to
16   make that transfer; (3) the administrative assistant rectified that error; (4) Mr. Lacey had no
17   knowledge about or involvement with the accidental transfer and only learned about it after his
18   accounts were restrained; (5) Mr. Lacey investigated the transfer and presented bank records and
19   a declaration from the administrative assistant to the government to demonstrate that he lacked
20   the intent to consciously comingle funds; and (6) the government refused to review the evidence
21   or to investigate the validity of its continued retention of funds unrelated to Backpage held in
22   three separate bank accounts (Republic Bank accounts ending in 2485, 1897, and 3126). (See
23   Doc. 385 at 8-11.) The absence of knowing and conscious comingling by Mr. Lacey deprives
24   the government of its reliance on the taint doctrine. (See Doc. 385 at 13-15.)
25          Because this Court has the authority to fashion a remedy for this Motion and because the
26   government does not dispute the facts presented, Mr. Lacey respectfully requests that this Court
27   grant the Motion. This Court has the inherent and equitable authority to grant the relief requested
28                                                   10
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 1   and to fashion a remedy for the government’s unfair conduct as akin to the equitable remedies
 2   of a mandatory injunction, an accounting, a constructive trust, an equitable rescission, and a
 3   partition. Mr. Lacey is not asking for anything more than the separation of his funds unrelated
 4   to Backpage for his defense to the instant action. Because the government has seized nearly all
 5   of his assets, his financial position is tenuous and he is unable to fulfill his financial obligations,
 6   including funding his defense and protecting his constitutional rights. (See Doc. 385 at 12.) Mr.
 7   Lacey has not asked this Court to weigh in on the propriety of the seizure warrants for these
 8   accounts or for any other accounts. He solely request that this Court enter an order separating
 9   funds that are indisputably untraceable to Backpage for use for his defense to this prosecution.
10                                            CONCLUSION
11          For all these reasons, Mr. Lacey respectfully requests an order directing the
12   government to release the funds held in Republic Bank accounts ending in 2485, 1897, and
13   3126. These funds, of approximately $1.1 million, are wholly unrelated to Backpage, and are
14   vital to Mr. Lacey’s ability to defend the instant action, protect his constitutional rights, and
15   survive pending trial.
16
            RESPECTFULLY SUBMITTED this 18th day of December, 2018,
17

18                                          /s/     Paul J. Cambria, Jr.
                                                    LIPSITZ GREEN SCIME CAMBRIA LLP
19
                                                    Attorneys for Defendant Michael Lacey
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